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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 United States of America,                            Case No. 20-cr-76 (PAM/TNL)

                      Plaintiff,

 v.                                                               ORDER

 Muhammad Masood,

                      Defendant.


       This matter is before the Court on Defendant Muhammad Masood’s Motion for

Extension of Deadlines and Hearings. (ECF No. 67.) Defendant has also filed a Statement

of Facts in Support of Extension. (ECF No. 69.) Defendant asks to extend the deadlines

for filing motions and responses and to continue the pretrial motions hearing for 5-6 weeks.

(ECF No. 67 at 1.)

       Defendant requests the extension of deadlines and a continuance of the motions

hearing because “defense needs additional time to determine whether and how to proceed

with pretrial motions.” (Id.) The specific reasons are set forth in a Declaration of

Defendant’s counsel, which was filed under seal. (See ECF No. 68.) The Government has

no objection to Defendant’s request for an extension of deadlines and a continuance of the

motions hearing.

       Additionally, beginning on March 13, 2020, and continuing thereafter, the

Honorable John R. Tunheim, then-Chief District Judge for the United States District Court

for the District of Minnesota, has issued a series of General Orders in connection with the


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COVID-19 pandemic, addressing, among other things, criminal proceedings and trials. 1

On June 1, 2022, Judge Tunheim entered General Order No. 36, which allows limited in-

person proceedings for defendants who decline to consent to conducting the proceeding

using videoconferencing, or telephone conferencing if videoconferencing is not reasonably

available. See generally In re: Updated Guidance to Court Operations Under the Exigent

Circumstances Created by COVID-19, Gen. Order No. 36 (D. Minn. June 1, 2022).

General Order No. 36 states that because only limited in-person proceedings may be held

each day, criminal proceedings may be continued until the date that the criminal proceeding

takes place.

       General Order No. 36 continues to encourage the use of videoconferencing in

criminal proceedings and states that, with the defendant’s consent, criminal proceedings

will be conducted by videoconferencing, or telephone conferencing if videoconferencing

is not reasonably available. General Order No. 36 further provides that the presiding judge

will enter orders in individual cases to extend deadlines and exclude time under the Speedy

Trial Act to address delays attributable to COVID-19. Accordingly, should Defendant

file pretrial motions, counsel shall also file a letter indicating whether Defendant

consents to a motions hearing by videoconference. (See also ECF No. 26 at 1.)

       Pursuant to 18 U.S.C. § 3161(h), this Court finds that the ends of justice served by

granting a continuance outweigh the best interests of the public and Defendant in a speedy

trial and such continuance is necessary to provide Defendant and his counsel reasonable


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   All General Orders related to the COVID-19 pandemic may be found on the Court’s website at
https://www.mnd.uscourts.gov/coronavirus-covid-19-guidance.

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time necessary for effective preparation and to make efficient use of the parties’ resources.

Based on all the files, records, and proceedings herein, IT IS HEREBY ORDERED that:

         1.       Defendant’s Motion for Extension of Deadlines and Hearing (ECF No. 67)

is GRANTED.

         2.       The period of time from July 2 through September 9, 2022, shall be

excluded from Speedy Trial Act computations in this case.

         3.       All motions in the above-entitled case shall be filed and served consistent

with Federal Rules of Criminal Procedure 12(b) and 47 on or before August 15, 2022. 2 D.

Minn. LR 12.1(c)(1). Two courtesy copies of all motions and responses shall be delivered

directly to the chambers of Magistrate Judge Tony N. Leung. 3

         4.       Counsel shall also file a letter on or before August 15, 2022, indicating

whether Defendant consents to a motions hearing by videoconference.

         5.       Counsel shall electronically file a letter on or before August 15, 2022, if

no motions will be filed and there is no need for a hearing.

         6.       All responses to motions shall be filed by August 29, 2022. D. Minn. LR

12.1(c)(2).

         7.       Any Notice of Intent to Call Witnesses 4 shall be filed by August 29, 2022.

D. Minn. LR 12.1(c)(3)(A).



2
  “Before filing a motion under Fed. R. Crim. P. 12(b), the moving party must confer with the responding party. The
parties must attempt in good faith to clarify and narrow the issues in dispute.” D. Minn. LR 12.1(b).
3
  U.S. Mail or hand-deliver to 300 South Fourth Street, Suite 9W, Minneapolis, MN 55415.
4
  “When a party intends to call witnesses at a hearing on a motion under Fed. R. Crim P. 12(b), the party must file a
notice within 35 days after the arraignment. The notice must identify the number of witnesses whom the party
intends to call, the motion or motions that each witness will be addressing, and the estimated duration of each
witness’s testimony.” D. Minn. LR 12.1(c)(3)(A).

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         8.       Any Responsive Notice of Intent to Call Witnesses 5 shall be filed by

September 1, 2022. D. Minn. LR 12.1(c)(3)(B).

         9.       A motions hearing will be held pursuant to Federal Rules of Criminal

Procedure 12(c) where:

                  a.       The Government makes timely disclosures and a defendant pleads
                           particularized matters for which an evidentiary hearing is necessary;
                           or

                  b.       Oral argument is requested by either party in its motion, objection or
                           response pleadings.

         10.      If required and subject to further order of the Court, the motions hearing shall

be heard before Magistrate Judge Tony N. Leung on September 9, 2022, at 9:30 a.m., in

Courtroom 9W, Diana E. Murphy U.S. Courthouse, 300 South Fourth Street,

MINNEAPOLIS, Minnesota 55415. D. Minn. LR 12.1(d).

         11.      An arraignment hearing will be held before the undersigned United States

Magistrate Judge on September 9, 2022, at 9:30 a.m., in Courtroom 9W, Diana E. Murphy

U.S. Courthouse, 300 South Fourth Street, MINNEAPOLIS, Minnesota 55415.

         12.      TRIAL:

                  a.       IF NO PRETRIAL MOTIONS ARE FILED BY DEFENDANT:

         the following trial and trial-related dates are:

                  All voir dire questions and jury instructions must be submitted to Senior

         District Judge Paul A. Magnuson on or before November 14, 2022.


5
  “If after reviewing a notice under LR 12(c)(3), a party intends to call witnesses at the same hearing, that party must
file a responsive notice within 38 days after the arraignment. The responsive party must identify the number of
witnesses whom the party intends to call, the motion or motions each witness will be addressing, and the estimated
duration of each witness’s testimony.” D. Minn. LR 12.1(c)(3)(B).

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              This case must commence trial on December 12, 2022, at 9:00 a.m. before

      District Judge Magnuson in Courtroom 7D, Warren E. Burger Federal Building and

      U.S. Courthouse, 316 North Robert Street, SAINT PAUL, Minnesota.

              b.    IF PRETRIAL MOTIONS ARE FILED, the trial date, and other

      related dates, will be rescheduled following the ruling on pretrial motions.

      Counsel must contact the Courtroom Deputy for District Judge Magnuson to

      confirm the new trial date.



Dated: July    12       , 2022                       s/Tony N. Leung
                                              Tony N. Leung
                                              United States Magistrate Judge
                                              District of Minnesota


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